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1                                                      Judge Ricardo S. Martinez
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6                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON
7                                     AT SEATTLE
8    UNITED STATES OF AMERICA,        )
                                      )    NO. CR05-203RSM
9                     Plaintiff,      )
                                      )
10              v.                    )    GOVERNMENT’S MOTION AND
                                      )    ORDER TO DISMISS THE
11   BERDA MAE PHILLIPS,         )    INDICTMENT
                                      )
12                    Defendant.      )
     _________________________________)
13

14          The United States of America, by and through John McKay, United States
15   Attorney for the Western District of Washington, and Norman M. Barbosa, Special
16   Assistant United States Attorney for said District, seeks this Court’s leave to dismiss the
17   captioned criminal case as further described below.
18          Pursuant to Rule 48(a) of the Federal Rules of Criminal Procedure, and by leave of
19   court endorsed herein, the United States Attorney’s Office for the Western District of
20   Washington hereby dismisses without prejudice the Criminal Indictment, Number
21   CR05-203RSM, pending against Berda Mae Phillips.
22          Upon further investigation and information, the Government has determined that
23   proceeding on the felonies charged in CR05-203RSM is currently inappropriate. The
24   Government has learned that Ms. Phillips was diagnosed with late stage IV breast cancer.
25   Ms. Phillips has recently gone through radiation treatment (from January, 2006, through
26   March 8, 2006). Defendant and her attorney, Jackie Walsh, have no objections to this
27   Motion to Dismiss.
28


                                                                              UNITED STATES ATTORNEY
                                                                               700 Stewart Street, Suite 5220
     MOTION TO DISMISS INFORMATION/Phillips - 1                               Seattle, Washington 98101-1271
     Case No. 05-203RSM                                                                (206) 553-7970
            Case 2:05-cr-00203-RSM       Document 78    Filed 05/09/06   Page 2 of 2



1          Dated: this 3rd day of May, 2006.
2                                                  Respectfully submitted,
3                                                  JOHN McKAY
                                                   United States Attorney
4

5                                                  s/Norman M. Barbosa
                                                   NORMAN M. BARBOSA
6                                                  Special Assistant United States Attorney
                                                   WSBA No. 28188
7                                                  United States Attorney’s Office
                                                   700 Stewart Street, Suite 5220
8                                                  Seattle, WA 98101-1271
                                                   Telephone: (206) 553-4937
9                                                  Fax: (206) 553-0755
                                                   E-mail: Norman.Barbosa@usdoj.gov
10

11

12                                          ORDER
13         Leave of court is hereby GRANTED for the filing of the foregoing dismissal.
14                Dated: this _9_ day of _May_, 2006.
15

16

17
                                                   A
                                                   RICARDO S. MARTINEZ
                                                   UNITED STATES DISTRICT JUDGE
18
     PRESENTED BY:
19
     s/Norman M. Barbosa
20   NORMAN M. BARBOSA
     Special Assistant United States Attorney
21

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                                                                         UNITED STATES ATTORNEY
                                                                          700 Stewart Street, Suite 5220
     MOTION TO DISMISS INFORMATION/Phillips - 2                          Seattle, Washington 98101-1271
     Case No. 05-203RSM                                                           (206) 553-7970
